.CaSe-2:04-cr-20150-BBD Document 84 Filed 08/23/05 PagelotS Page|D 106

IN THE uNITED sTATEs DISTRICT couRT F'LED B"'-‘. _._. o.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIszoN 05 AU|; 23 AH 5, 52

UNITED STATES OF AMERICA, CR. NO. 04-2010

04-2

  

Piaintiff,
VS.

SCOTT CRAWFORD,

Defendant.
CONSENT ORDER UNSEALING THE STATEMENT OF FACTS FILED WITH THE
PLEA AGREEMENTS IN UNITED STATES v. SCOTT CRAW'E'ORDc
g§; NO. 04-2010§;§ AND CR. NO. 04;§0150-§

Upon the motion of the parties hereto, and with their express
consent and agreement, it is hereby ORDERED that the Statement of
Facts made a part of the plea agreements in United States v. Scott
Crawford, Cr. No. 04-20103-D and Cr. No. 04-20150, and ordered
sealed by the district court following the change of plea hearing,l
shall be unsealed on August 19, 2005, at the beginning of the

sentencing hearing in the cases referenced herein.

So ORDERED this/BW1 day of August,. 2005, at Memphis,

,l,//ZJ

Th Honorable'Bernice B. Donald
U ted States District Judge
W stern District of Tennessee

Tennessee.

 
 

 

 

1The Statement of Facts was docketed in United States v.
Scott Crawford, Cr. No. O4-20103-D, on March 14, 2005, as a
sealed document and assigned docket number 240.

This document entered on the docket Sheet fn compliance
w|th Flule 55 and/or 32(b) FHCrP on '- ’

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APPROVED AND CONSENTED TO:

€.

cjbseph C. Murphy, J&.
Assistant United States Attorney
Western District of Tennessee

Tony L. §am, Esg.
Attorne for Defendant Scott Crawford

 

   

UNITED sTEATSD"TISRIC COURT - WESRTE DISTRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case 2:04-CR-20150 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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